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        UNITED STATES BANKRUPTCY COURT
        SOUTHERN DISTRICT OF NEW YORK

          IN RE:

                                                                      Chapter 7
          PANOS PAPADOPOULOS SERETIS
                                                                      Case No. 18-11852-JLG
                                     Debtor.


          YANNIS (IOANIS) BONIKOS, RIGEL SHAHOLLI
          AND DIMITIRIOS OIKONOMOPOULOS,
                                                                      Adv. Pro. No. 18-01637-JLG
                                     Plaintiff,

                             -against-

          PANOS SERETIS,

                                     Defendant.


                         THIRD STIPULATION FOR A BRIEFING SCHEDULE
                                 REGARDING THE COMPLAINT

                       WHEREAS, on or about September 24, 2018, YANNIS (IOANIS) BONIKOS,

        RIGEL SHAHOLLI AND DIMITIRIOS OIKONOMOPOULOS (“PLAINTIFF”) filed a

        complaint (the “Complaint”) against PANOS SERETIS (“DEFENDANT”);




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                          WHEREAS, on or about December 12, 2018, the Court issued a Third Summons

        with Notice issued by Clerk's Office with Pre-Trial Conference set for January 31, 2019 at 10:00

        A.M. at Courtroom 601;

                   WHEREAS, on December 14, 2018, DEFENDANT was served with the Complaint;

                   WHEREAS, on January 4, 2019, PLAINTIFFS and DEFENDANT entered into a

        Stipulation for a Briefing Schedule Regarding the Complaint (the “Stipulation”) giving the

        DEFENDANT up to and including January 28, 2019 to answer or respond to the Complaint;

        allowing PLAINTIFFS to have up to and including February 11, 2019 to file an opposition, if any;

        and granting DEFENDANT, up to and including February 25, 2019 to file a reply;

                   WHEREAS, On January 10, 2019, the Court So Ordered the Stipulation (D.E. #9).

                   WHEREAS, on January 23, 2019, PLAINTIFFS and DEFENDANT entered into a Second

        Stipulation for a Briefing Schedule Regarding the Complaint (the “Second Stipulation”) giving the

        DEFENDANT up to and including February 27, 2019 to answer or respond to the Complaint;

        allowing PLAINTIFFS to have up to and including March 13, 2019 to file an opposition, if any;

        and granting DEFENDANT, up to and including March 27, 2019 to file a reply;

                   WHEREAS, on January 30, 2019, the Court So Ordered the Second Stipulation (D.E. #11).

                   NOW, THEREFORE, the PLAINTIFFS and DEFENDANT, by and through their

        undersigned counsel, hereby enter into this Third Stipulation for a Briefing Schedule Regarding

        the Complaint and stipulate as follows:

                   1.     The Parties are currently in settlement negotiations and request extended deadlines

        to continue to work toward resolution;

                   2.     The Parties agree to keep the pretrial conference on April 16, 2019 at 10:00 a.m.




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                   3.   The Parties agree that Defendant shall have up to and including March 29, 2019 to

        answer or otherwise respond to the Complaint;

                   4.   Plaintiffs shall have up to and including April 12, 2019 to file an opposition if any;

                   5.   Defendant shall have up to and including April 26, 2019 to file a reply;

                   6.   Defendant acknowledges service of the Complaint; provided however, that nothing

        herein shall be deemed to waive any right of Defendants to contest or challenge personal

        jurisdiction.

                   7.   Unless expressly stated above, this Stipulation is made without prejudice to the

        Parties’ rights and defenses, all of which, including, but not limited to, lack of personal jurisdiction,

        are expressly reserved.

        Dated: New York, New York
               February 21, 2019


          FOLEY & LARDNER LLP                           VARACALLI & HAMRA, LLP

         /s/ Katherine Catanese                         /s/ Abraham Hamra
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         Counsel for Panos Seretis                      Counsel for Plaintiffs



        IT IS SO ORDERED:
        Dated: _______________, 2019

        __________________________
        The Honorable James L. Garrity, Jr.
        United States Bankruptcy Judge



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